             Case 19-30375-sgj7                      Doc 43      Filed 12/02/19 Entered 12/02/19 11:25:35                                               Desc Main
                                                                 DocumentFORMPage
                                                                               1  1 of 2
                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                           Page:      1
                                                                   ASSET CASES
Case No:            19-30375         SGJ   Judge: Stacey G. Jernigan                                      Trustee Name: James W. Cunningham, Trustee
Case Name:          RELIACRETE, LLC                                                                       Date Filed (f) or Converted (c):      02/03/19 (f)
                                                                                                          341(a) Meeting Date:                  03/13/19
 For Period Ending: 11/18/19
                                                                                                          Claims Bar Date:                      06/05/19


                                 1                                         2                         3                  4               5                            6
                                                                                            Estimated Net Value
                                                                                             (Value Determined       Property                                   Asset Fully
                                                                        Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                         Asset Description                             Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 1. Accounts Receivable                                                  1,961,113.93                 Unknown                                2,450.57           Unknown
    - All over 90 days old
    - Debtor testified at 341 mtg that most are in dispute
 2. Office Furniture                                                           2,500.00                      0.00                                0.00               FA
    - No net value per auctioneer
 3. Office Equipment                                                           1,500.00                      0.00                                0.00               FA
    - No net value per auctioneer
 4. 2010 Bobcat Excavator                                                   18,000.00                        0.00                                0.00               FA
    - Stay lifted
 5. 25' Goosneck Trailer                                                             0.00                4,290.00                            4,290.00               FA
    - Sold per 4/16/19 Order 27
 6. 2011 John Deere 450 Dozer                                               38,000.00                        0.00                                0.00               FA
    - Lift Stay order entered 3/11/19, docket 18
 7. 8' Utility Trailer                                                               0.00                1,435.50                            1,435.50               FA
    - Sold per 4/16/19 Order 27
 8. 2011 Bobcat Skid Steer Loader                                           28,000.00                        0.00                                0.00               FA
    - Lift Stay order entered 3/11/19, docket 18
 9. 2013 Kubota Track Loader                                                27,000.00                        0.00                                0.00               FA
    - Lift Stay order entered 3/11/19, docket 18
 10. 2008 John Deere 310 Loader                                             33,000.00                        0.00                                0.00               FA
    - Lift Stay order entered 3/11/19, docket 18
 11. Leica TS12P Station                                                       9,000.00                      0.00                                0.00               FA
    - Lift Stay order entered 3/11/19, docket 18
 12. 2006 Komatsu Track Loader                                                 7,000.00                  4,510.00                            4,510.00               FA
    - Sold per 4/16/19 Order 27
 13. 2006 Mini Excavator                                                    18,000.00                    9,350.00                            9,350.00               FA
    - Sold per 4/16/19 Order 27
 14. Lot and Building                                                      283,610.00                 83,657.01                        291,500.00                   FA
    - Sold at Auction 10/30/2019 per 10/8/2019 Order #42
 15. Garnishment Recovery (u)                                                        0.00                5,136.20                            5,136.20               FA
 16. Auger (u)                                                                       0.00                  352.00                              352.00               FA
    - Sold per 4/16/19 Order 27
 17. Concrete Forms (u)                                                              0.00                 550.00                              550.00                FA
    - Sold per 4/16/19 Order 27
 18. 2013 Ford F-350                                                                 0.00                    0.00                                0.00               FA
    - Scheduled at no value
    - Debtor testified at 341 meeting there is a 2012
      but not not titled in Debtor name
    - Principal of Debtor owns a 2012 Ford F-350.
      Tile reviewed and verified in his individual name.
    - 2013 Ford F-350 does not appear on tax return
    - 2013 Dodge Ram was repossessed by
      Chrysler Capital in May, 2018

                                                                                                                                                        Value of Remaining Assets



PFORM1                                                                                                                                                                   Ver: 22.02b
             Case 19-30375-sgj7                     Doc 43      Filed 12/02/19 Entered 12/02/19 11:25:35                                      Desc Main
                                                                DocumentFORMPage
                                                                              1  2 of 2
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      2
                                                                  ASSET CASES
Case No:           19-30375         SGJ   Judge: Stacey G. Jernigan                                 Trustee Name: James W. Cunningham, Trustee
Case Name:         RELIACRETE, LLC                                                                  Date Filed (f) or Converted (c):   02/03/19 (f)
                                                                                                    341(a) Meeting Date:               03/13/19
                                                                                                    Claims Bar Date:                   06/05/19


                                1                                         2                     3                 4               5                        6
                                                                                       Estimated Net Value
                                                                                        (Value Determined     Property                                Asset Fully
                                                                       Petition/         by Trustee, Less     Formally        Sale/Funds          Administered (FA)/
                        Asset Description                             Unscheduled       Liens, Exemptions,   Abandoned        Received by      Gross Value of Remaining
             (Scheduled and Unscheduled (u) Property)                   Values           and Other Costs)    OA=554(a)         the Estate               Assets

 TOTALS (Excluding Unknown Values)                                     $2,426,723.93          $109,280.71                       $319,574.27                          $0.00
                                                                                                                                                  (Total Dollar Amount
                                                                                                                                                         in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 - Tax returns

 - AR investigation

 - Claims review / objections

 - Fee applications

 - Valuations reflected in column 3 above are estimates to serve as a placeholder per UST guidelines
 and are not meant to reflect reality or limit sale price, demands or litigation in progress

 Initial Projected Date of Final Report (TFR): 02/03/21               Current Projected Date of Final Report (TFR): 02/03/21




PFORM1                                                                                                                                                         Ver: 22.02b
